Case: 1:06-cr-00134-CDP Doc. #: 740 Filed: 06/19/18 Page: 1 of 4 PageID #: 4579




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                            SOUTHEASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
            Plaintiff,                     )
                                           )
      vs.                                  )         Case No. 1:06 CR 134 CDP
                                           )
MICHAEL MEADOR,                            )
                                           )
            Defendant.                     )

_________________________________

MICHAEL MEADOR,                            )
                                           )
            Movant,                        )
                                           )
      vs.                                  )         Case No. 1:12 CV 36 CDP
                                           )         Case No. 1:16 CV 164 CDP
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
            Respondent.                    )

                          MEMORANDUM AND ORDER

      Michael Meador has filed letters and motions in his various closed criminal

and civil cases. He seeks appointment of counsel and other relief, arguing that he

should benefit from recent Supreme Court cases. Meador is not entitled to any

further relief, under any of the authorities or arguments he cites, and I will deny the

motions.
Case: 1:06-cr-00134-CDP Doc. #: 740 Filed: 06/19/18 Page: 2 of 4 PageID #: 4580




      Michael Meador is currently incarcerated at the United States Penitentiary in

Pine Knot, Kentucky. Meador was convicted on three counts related to a

marijuana conspiracy and his involvement in the murder of Sergio Burgos. Case

No. 1:06CR134CDP. Meador was sentenced to life imprisonment, and his

conviction and sentence were affirmed on an appeal consolidated with that of one

of his co-defendants. United States v. Dinwiddie, 618 F.3d 821 (8th Cir. 2010).

His petition for certiorari was denied by the United States Supreme Court. Meador

v. United States, 131 S. Ct. 1547 (2011).

      Meador then filed his first motion to vacate, set aside or correct sentence

under 28 U.S.C. § 2255, which was denied. Case No. 1:12CV36CDP. He filed a

motion “to alter or amend,” purportedly under Rule 59(e), Fed. R. Civ. P., and then

filed several “supplements” to that motion, including one purporting to be brought

under Rule 12(b)(3)(B), Fed. R. Civ. P. I denied those motions. When Meador

appealed, the Court of Appeals denied a certificate of appealability and dismissed

the appeal. Meador v. United States, Case No. 15-2297 (8th Cir. Dec. 2, 2015).

When Meador filed another notice of appeal, the Court of Appeals entered its

judgment dismissing that appeal. Case No. 16-1160 (8th Cir. Jan. 28, 2016). He

then filed another motion in this Court, this one purporting to be filed under Rule

60(b), and arguing, among other things, that “due to the Movant’s brain damage

that causes him to be gullible, easily influenced, and have an unreasonable desire

                                            2
Case: 1:06-cr-00134-CDP Doc. #: 740 Filed: 06/19/18 Page: 3 of 4 PageID #: 4581




to please others, it makes him a danger to his community.” (ECF # 61, page 4, in

Case No. 1:12CV36 CDP).

          He filed a second § 2255 motion, seeking relief under Johnson v. United

States, 135 S.Ct. 2551 (2015), which the District Court denied as successive and

because he had not sought permission from the Court of Appeals to file a

successive habeas. Case No. 1:16CV164 CDP. He did not appeal that decision,

but he has filed a letter arguing that it was incorrectly decided.

          I will not recite the facts of Meador’s case, as they have been set out

extensively by the Court of Appeals and in my previous orders denying Meador’s §

2255 motions. There is no doubt that Meador was guilty of the crimes of which he

was convicted and that his sentence was proper. As detailed more completely in

previous orders, including in my lengthy Order and Memorandum denying his first

§ 2255 motion (ECF # 25, Case No. 1:12CV36CDP), the evidence against him was

overwhelming. His own testimony at trial and post-arrest his recorded statements

showed that he was entirely competent, guilty of the crimes, and very

manipulative.1

          Meador most recently again seeks appointment of counsel and argues that

the Court’s prior decisions were incorrect, that he should not have been convicted

of these crimes because of recent developments in the law regarding the Armed


1
    The Court does not take issue with his claim that he is a danger to the community.
                                                  3
Case: 1:06-cr-00134-CDP Doc. #: 740 Filed: 06/19/18 Page: 4 of 4 PageID #: 4582




Career Criminal Act (of which he was neither charged nor convicted), and, in his

most recent filing, because, he has “brain damage” and has “been learning disabled

my whole life!” He also says he is “deaf due to a prison issue.” (ECF # 739 in

Case No. 1:06CR134 CDP).

      Meador’s recent filings do not change anything. His trial, conviction, and

sentence were proper. He has no further remedies available, and all of his recent

filings are without merit. I will deny the motions, as they are legally frivolous.

      Accordingly,

      IT IS HEREBY ORDERED that Michael Meador’s pending motions in all

three cases are denied.

      IT IS FURTHER ORDERED that that this Court will not issue a

certificate of appealability, as Meador has not made a substantial showing of the

denial of any federal constitutional rights.




                                           CATHERINE D. PERRY
                                           UNITED STATES DISTRICT JUDGE

Dated this 19th day of June, 2018.




                                           4
